      FOSS
  DECLARATION
    EXHIBIT 8




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                                                            April 11, 2019
 VIA ECF
 Honorable Michael A. Shipp, U.S.D.J.
 United States District Court for the District of New Jersey
 Clarkson S. Fisher Federal Building & U.S. Courthouse
 402 East State Street
 Trenton, New Jersey 08608

              Re:          NewMarket Pharmaceuticals, LLC v. VetPharm, Inc. et al.
                           Civil Action No. 3:17-cv-01852-MAS-TJB

 Dear Judge Shipp:

        We represent NewMarket Pharmaceuticals LLC (“NewMarket”) in the above-referenced
 matter. We write in response to the Court’s March 6, 2019 Text Order and to inform the Court of
 Defendant VetPharm’s intention to terminate the arbitration.

        VetPharm has thwarted every attempt to have this Court hear this case, and yet it
 obviously has no intention of proceeding with the arbitration it so loudly demands. Since the
 Court’s March 6 Order, VetPharm has informed the AAA and NewMarket that it intends to
 terminate the pending arbitration because NewMarket is unable to pay half of the arbitrator
 fees.1 Notably, at no time did VetPharm state its intentions of dismissing the arbitration to this
 Court. Given VetPharm’s unwillingness to proceed with arbitration, NewMarket respectfully
 requests that the parties be ordered to present this case to Judge Bongiovanni for adjudication,
 as previously proposed by NewMarket at the mediation. VetPharm has yet to articulate a
 meaningful objection to such a course of action.

       We thank the Court for its continued attention to this matter, and are available should
 Your Honor or Your Honor’s staff require anything further or have any questions.


                                                        
           NewMarket remains insolvent. See, e.g., MER-C-1-19 (the “Insolvency Action”).
              1

 NewMarket sought and received a waiver of all fees from the AAA but that waiver did not
 include the arbitrator fees. NewMarket has informed the AAA that it will seek a waiver of the
 arbitrator fees which will be decided by the arbitration on the case. Notably, the Federal
 Arbitration Act does not require dismissal of a party’s claims when the arbitration was
 terminated for nonpayment by that party and the district court case may proceed when the
 nonpaying party is unable to pay. See, e.g., Tillman v Tillman, 825 F.3d 1069, 1071 (9th Cir.
 2016).



  
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                                                     Respectfully submitted,

                                                     s/Joel A. Pisano

                                                     Joel A. Pisano


 cc:    All Counsel of Record (via ECF and E-mail)




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